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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION


   RED BARN MOTORS, INC., PLATINUM      )
   MOTORS, INC., and MATTINGLY AUTO     )
   SALES, INC.,                         )
                                        )
                         Plaintiffs,    )
                                        )                       CASE NO. 1:14-cv-01589-TWP-DML
          vs.                           )
                                        )
   NEXTGEAR CAPITAL, INC., f/k/a/ DEALER)
   SERVICES CORPORATION, COX            )
   ENTERPRISES, INC., COX AUTOMOTIVE, )
   INC., and JOHN WICK                  )
                                        )
                         Defendants.    )

                                                 ORDER

          Considering the foregoing Motion to Proceed with Class Notice to Known Class Members and

   Proposed Procedures for Providing Notice to Class Members Pursuant to Rule 23(c)(2)(B) filed by

   Plaintiffs (Dkt. 249) (the “Motion to Proceed with Class Notice”), and for the reasons stated therein:

          IT IS ORDERED that the Motion to Proceed with Class Notice be and hereby is GRANTED.

          IT IS FURTHER ORDERED that, following receipt of a class member verification affidavit

   from Defendants, Plaintiffs may proceed with class notice to the 17,411 class members whose names

   and contact information have been produced by Defendants.

          IT IS FURTHER ORDERED that the proposed class notice procedures described in the

   Motion to Proceed with Class Notice be and hereby are APPROVED.

          Indianapolis, Indiana this ______ day of _____________, 2017.


                                                        ____________________________________
                                                        UNITED STATES DISTRICT COURT
                                                        SOUTHERN DISTRICT OF INDIANA
